Case 1:OO-cV-01096-.]DB-tmp Document 86 Filed 07/01/05 Page 1 of 5 Page|D 104

*"/”`/` a Cp/

fl
UNITED sTATEs DIsTRICT CoURT n ~- C.
wEsTERN DIsTRICT oF TENNESSEE 5 s)‘_._f_ _ / mug
EASTERN DIvIsIoN AT JACKsoN ' 3: 355

WILLIE DAVIS,

 

Plaintiff
v.

PRISON REALTY TRUST, INC.

a/k."a PRISON REALTY CORPORATION;
CORRECTIONS CORPORATION OF
AMERICA; CORRECTIONAL
MANAGEMENT SERVICES
CORPORATION; PRISON
MANAGEMENT SERVICES, INC.;

and DOCTOR CRANTS,

Case No. 00-1096-Bre/P

W\./\_d'\_¥\_¢\_¢\_¢`\_¢\_/`_/\_¢WW\-i'\-i\_i

Defendants

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, with full prejudice, the
Court therefore finds that this cause should be dismissed, with full prejudice and,
accordingly:

IT lS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of Arnerica, Doctor Crants, Prison Realty Trust, Inc., Correctional
Management Services Corporation, Prison Realty Managernent, Inc., and Prison
l\/Ianagement Services, Inc., with prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGEI) AND DECREED that costs of this cause,

including filing fees, will be paid by Plaintiff and no discretionary costs, bill of cost,

This document entered on the docket sheet In compliance

with Rule 58 and,‘or_79 (a) FHCP on _m_»_®‘_@_ ©

Case 1:OO-cV-01096-.]DB-tmp Document 86 Filed 07/01/05 Page 2 of 5 Page|D 105

expenses or any attorney fees, either by statute or contract, will be applied for or awarded by

either party.
Dated: this /Sjc` day of@ ,2005.

mea

J. DANIEL BREEN\
NIT D STATES DISTRICT JUDGE

 

 

APPROVED FOR ENTRY:

ngdm@.>éin/w

 

 

 

JAMES I. PENTECOST AYNE A. RfTCHIE, II
BRANDON O. GIBSON ROBERT W. RITCHIE
PENTECOST, GLENN & RUDD, PLLC RITCHIE, FELS & DILLARD
106 Stonebridge Blvd. P.O. Box 1126

Jackson, Tennessee 38305 Knoxville, Tennessee 37901-1 126
ROBERT J. WALKER W. GASTON FAIREY

MARK TIPPS W. GASTON FAIREY, LLC
JOSEPH WELBORN 1722 Main Street, Suite 300

WALKER, BRYANT, TIPPS & MALONE Colurnbia, South Carolina 29201
2300 One Nashville Place

150 Fourth Avenue North COUNSEL FOR PLAlNTIFF
Nashville, TN 37219-2424

COUNSEL FOR DEFENDANTS

Case 1:OO-cV-01096-.]DB-tmp Document 86 Filed 07/01/05 Page 3 of 5 Page|D 106

CERTIFI CATE OF SERVICE

l certify that a copy ofthe foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,

Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Coiumbia, sc 29201 on Jun@ZB ,2005.

PENTECOST, GLENN & RUDD, PLLC

%aw»@%a/a

J ames I. Pentecost (#011640)
Brandon O. Gibson (#21485)
Attorneys for Defendants

 

F'TNi\i'ESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 86 in
case 1:00-CV-01096 was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

Robert J. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901

Terry E. Williams
WILLIAMS LAW OFFICE
250 E. Wisconsin Ave.
Milwaukee, Wl 53202--423

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

W. Gaston Fairey

FAIREY PARISE & l\/[[LLS7 P.A.
P.O. Box 8443

Columbia, SC 29202

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Case 1:00-cV-01096-.]DB-tmp Document 86 Filed 07/01/05 Page 5 of 5 Page|D 108

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901--112

J. l\/lark Tipps

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

J. Christopher Mills

FAIREY PARISE & l\/[[LLS7 P.A.
P.O. Box 8443

Columbia, SC 29202

Joseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Honorable J. Breen
US DISTRICT COURT

